Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1806 Page 1 of 35




                      Exhibit A
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1807 Page 2 of 35




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                      IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, NORTHERN DIVISION


  SECURITIES AND EXCHANGE
  COMMISSION,

               Plaintiff,                         Case No. 2:23-cv-00482-RJS

         vs.

  DIGITAL LICENSING INC. (d/b/a
                                                  RECEIVER JOSIAS N. DEWEY’S
  “DEBT Box”), a Wyoming
                                                  DECLARATION IN SUPPORT OF
  corporation; JASON R. ANDERSON,
                                                  SEC’S MOTION TO CLARIFY
  an individual; JACOB S.
                                                  TEMPORARY RECEIVERSHIP
  ANDERSON, an individual; SCHAD
                                                  ORDER
  E. BRANNON, an individual;
  ROYDON B. NELSON, an individual;
  JAMES E. FRANKLIN, an individual;
                                                  Chief Judge Robert J. Shelby
  WESTERN OIL EXPLORATION
  COMPANY, INC., a Nevada
  corporation; RYAN BOWEN, an
  individual; IX GLOBAL, LLC, a Utah
  limited liability company; JOSEPH A.
  MARTINEZ, an individual;
  BENJAMIN F. DANIELS, an
  individual; MARK W. SCHULER, an
  individual; B & B INVESTMENT
  GROUP, LLC (d/b/a “CORE 1
  CRYPTO”), a Utah limited liability
  company; TRAVIS A. FLAHERTY,
  an individual; ALTON O. PARKER,
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1808 Page 3 of 35




  an individual; BW HOLDINGS, LLC
  (d/b/a the “FAIR PROJECT”), a Utah
  limited liability company; BRENDAN
  J. STANGIS, an individual; and
  MATTHEW D. FRITZSCHE, an
  individual,

                  Defendants,

  ARCHER DRILLING, LLC, a
  Wyoming limited liability company;
  BUSINESS FUNDING SOLUTIONS,
  LLC, a Utah limited liability company;
  BLOX LENDING, LLC, a Utah
  limited liability company;
  CALMFRITZ HOLDINGS, LLC, a
  Utah limited liability company;
  CALMES & CO, INC., a Utah
  corporation; FLAHERTY
  ENTERPRISES, LLC, an Arizona
  limited liability company; IX
  VENTURES FZCO, a United Arab
  Emirates company; PURDY OIL,
  LLC, a Nebraska limited liability
  company; THE GOLD COLLECTIVE
  LLC, a Utah limited liability company;
  and UIU HOLDINGS, LLC, a
  Delaware limited liability company,

                  Relief Defendants.

                          DECLARATION OF JOSIAS N. DEWEY

        1.      My name is Josias N. Dewey. I am over 18 years of age and competent to testify to

the matters detailed in this declaration. I am a partner at Holland & Knight, LLP (“HK”) in Miami,

Florida.




                                                2
#227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1809 Page 4 of 35




        2.         I have practiced law since 1998 and am a member in good standing of the State Bar

of Florida. I previously served as the court-appointed Receiver for Titanium Blockchain

Infrastructure Services, Inc. in Securities and Exchange Commission v. Titanium Blockchain

Infrastructure Services, Inc., No. 18-cv-4315 (C.D. CA 2018).

        3.         On July 28, 2023, I was appointed as Temporary Receiver in the above captioned

matter over Defendant Digital Licensing, Inc. and its affiliates and subsidiaries (hereinafter, “DLI”

refers to Digital Licensing, Inc. together with its affiliates and subsidiaries, and “Digital Licensing,

Inc.” refers solely to that singular entity). See Temporary Receivership Order, SEC v. Digital

Licensing, Inc., No. 23-cv-00482 (D. Utah), ECF No. 10 (hereinafter “OAR”). The terms

“affiliates” and “subsidiaries” are not defined in the OAR.

        4.         Based on my and my team’s efforts to date, summarized below, each of the

following entities is directly owned, managed, operated and/or controlled by one or more of

Defendants Jason R. Anderson, Jacob S. Anderson, Schad E. Brannon, and Roydon B. Nelson

(collectively, the “DEBT Council Defendants”):

                A. Relief Defendant Blox Lending, LLC (“Blox”)

                B. Relief Defendant Business Funding Solutions, LLC (“BFS”)

                C. Relief Defendant The Gold Collective, LLC (“Gold Collective”)

                D. Relief Defendant UIU Holdings, LLC (“UIU”)

                E. Digital Commodity House Entities

        5.         Prior to the imposition of the Receivership, the DEBT Council Defendants

managed, operated, and controlled Digital Licensing, Inc., the primary entity through which the

sale of DEBT Box software licenses occurred, as described more fully in the SEC’s complaint.

Furthermore, the DEBT Council Defendants used each of the entities listed above in furtherance



                                                   3
#227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1810 Page 5 of 35




of consolidated business activities for or on behalf of Digital Licensing, Inc., including the sale of

DEBT Box licenses, the commingling of investor proceeds, and transactions with entities that

purportedly supported the various “projects” listed on the DEBT Box website.

                     SUMMARY OF RECEIVER’S EFFORTS TO DATE

        6.      HK advises and assists me in carrying out my duties and responsibilities set forth

in the OAR. With my authority, HK retained qualified vendors to assist in, among other things:

(a) data collection and preservation; (b) tracing of DLI cryptocurrency and other digital asset

(hereinafter “Digital Assets”) transactions; and (c) tracing of various DLI financial transactions

(hereinafter “Fiat Assets”), all for the purpose of providing information to HK in connection with

its ability to provide legal advice to me in my capacity as Receiver.

        7.      Over the last four weeks, HK, its vendors, and I (collectively “Team”) have carried

out a number of actions designed to, among other things, (a) understand the nature of DLI’s

business operations; (b) understand the roles and relationships of DLI and the DEBT Council

Defendants vis-à-vis other Defendants, Relief Defendants, and third parties; and (c) marshal

relevant information, records, and assets belonging to the Receivership Estate (“Estate”).

        8.      This work has involved (a) speaking with more than 20 relevant individuals; (b)

analyzing financial transactions from 28 bank accounts and payment processors; (c) analyzing and

tracing myriad digital asset transactions across scores of digital wallets; (d) speaking or attempting

to speak with counsel for various Defendants and Relief Defendants; (e) conducting public records

research; (f) securing or attempting to secure DLI’s books and records; and (g) securing or

attempting to secure DLI’s assets in their varying forms and locations. This work has illuminated

an interconnectedness of many of the parties in this action, including notably between Digital

Licensing, Inc. and the entities set forth in ¶ 4 above, whom together carry out the operations

alleged in the SEC’s complaint.

                                                  4
#227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1811 Page 6 of 35




         9.     Through these efforts, which are ongoing, the Team has developed significant

evidence showing, among other things: (a) consolidation of various entity email accounts—

including Digital Licensing, Inc. email accounts and various accounts for entities listed in ¶ 4

above —into an umbrella email domain controlled by the DEBT Council Defendants; (b) common

ownership and operation of the entities described herein, including a shared physical office

location and employees; (c) DLI’s extensive Digital Asset transactions, which occurred on a scale

and magnitude greater than alleged in the SEC’s complaint; (d) extensive commingling of Fiat

Assets traceable to DEBT Box investor proceeds among Digital Licensing, Inc. and the above-

named entities; (e) several joint legal representations involving individual and entity Defendants

and Relief Defendants on the one hand, and Digital Licensing, Inc. on the other, that have presented

ongoing challenges to obtaining DLI case files; and (f) several ongoing and time sensitive

litigations in which Digital Licensing, Inc. is not itself named as a party but in which other

Defendants and Relief Defendants in this action are named, including entities identified in ¶4

above.

         10.    Although the Team’s analysis continues, my personal observations herein are based

on evidence obtained and verified over the last four weeks. Where appropriate, I have attached

exhibits to support the statements herein.


Websites and Emails

         11.    On August 2, 2023, the Team interviewed Defendant Roydon Nelson. During that

interview, Mr. Nelson volunteered certain information about DLI and informed the Team that a

service provider (the “Provider”) hosted numerous domains, websites, and data for numerous

entities, including Digital Licensing, Inc.




                                                 5
#227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1812 Page 7 of 35




        12.     The same day, the Team contacted the Provider, shared a copy of the OAR and

gave the Provider time to review that document, pose questions, and discuss and understand my

role and responsibilities as Receiver for DLI. The Team communicated with Provider on numerous

occasions that day and, among other things, the Provider informed the Team that he communicated

with Mr. Nelson that morning, and Mr. Nelson encouraged the Provider to cooperate with me, as

the Receiver, and the remainder of the Team. The Team requested access to all of DLI’s

information in the Provider’s possession or control, and relied on the Provider to use his own

discretion and experience in identify the data belonging to DLI. Among other things, the Provider

produced an Excel spreadsheet identifying the various email domains he serviced for DLI at the

direction of Mr. Nelson and Mr. Brannon, whom the Provider understood were involved in the

operation and oversight of DLI. A copy of that spreadsheet is attached hereto as Exhibit 1. The

domains Provider believed to be DLI’s, each with individual email accounts and data repositories,

included: (a) UniversalDev.com; (b) Digitallicensinginc.com; (c) Archer-drilling.com; (d)

Theminingcollective.com;     (e)   Igniseng.com;     (f)   Universalresourceestimate.com;     (g)

aemghana.com; (h) resonancefrequencyexploration.com; and (i) Digitalcommodityhouse.com.

Notably, most email accounts associated with these domains were setup to forward to and

consolidate in specific email accounts at universaldev.com.

        13.     At the Team’s request, the Provider terminated others’ existing administrative

access, provided administrative access to the Team to download encrypted and other data

belonging to DLI, and removed dual-factor authorization on certain accounts. The data was

preserved but not accessed prior to implementing filtering and review protocols.

        14.     The Team implemented a protocol designed to limit the Team’s access to materials

in the first instance to those documents clearly associated with Digital Licensing, Inc., while



                                                6
#227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1813 Page 8 of 35




preserving but not accessing other materials. As detailed further below, a review of various

communications within the Digital Licensing, Inc. domain revealed that several of the DEBT

Council Defendants used various other email accounts to conduct business for and on behalf of

Digital Licensing, Inc.

        15.     Moreover, under Mr. Nelson and Mr. Brannon’s direction, the Provider also

controlled domain access for other websites associated with DLI and DEBT Box—

www.DigitalCommodityHouse.com and www.DigitalLicensingInc.com. The Provider granted

proper administrative credentials to the Team, which took control of those websites and redirected

those landing pages to the Receiver’s website at www.DebtBoxReceiver.com.

        16.     Furthermore, we learned that the Provider did not control the primary website

associated with DEBT Box: thedebtbox.com. Rather, that website is hosted by Vercel, Inc. Vercel

indicated that the contracting party for hosting services for thedebtbox.com is not Digital

Licensing, Inc., and that Vercel will not reveal the contracting party that acted on Digital

Licensing, Inc.’s behalf without a subpoena, more specific OAR, or other order of this court.

        17.     Without access to thedebtbox.com, the Team is unable to access critical information

such as customer lists, email accounts, and books and records relating to DLI.


Bank Records and Fiat Asset Tracing

        18.     Following my appointment, the SEC provided the Team with bank statements and

supporting source material for 28 bank accounts and payment processors owned or controlled by

various Defendant and Relief Defendant entities. These records are not a comprehensive collection

of the Fiat Asset transactions related to DLI and the other conduct alleged in the SEC’s complaint.

However, they provide a detailed assessment of the flow of funds coming into Digital Licensing,

Inc. bank accounts, along with detailed transaction data for other parties.


                                                 7
#227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1814 Page 9 of 35




        19.     According to various bank records provided by the SEC, including bank signature

cards and statements, Defendants Jason Anderson (Blox, BFS, and UIU), Jacob Anderson (Blox

and UIU), and Roy Nelson (Gold Collective) had signatory authority and/or controlled the bank

accounts for Blox, BFS, Gold Collective, and UIU.

        20.     To date, based upon a review of these bank records, publicly available blockchain

records, and documents provided by Defendants and third parties, we estimate that there have been

more than $20 million in Fiat Asset transactions and more than $110 million in Digital Asset

transactions associated with the sale of DEBT Box licenses between November 2021 and August

2023.

        21.     As detailed further below, between March 22, 2021 and May 30, 2023, over

$17 million in Fiat Assets were transferred from accounts in Digital Licensing, Inc.’s name to

accounts in the name of, among others: (a) BFS; (b) Blox; and (c) Gold Collective.




                        Figure 1: Digital Licensing, Inc. transactions to Relief Defendants




                                                        8
#227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1815 Page 10 of 35




          22.      Moreover, as detailed further below, several asset purchases and financial

 transactions associated with various entities purportedly associated with DLI’s DEBT Box tokens

 were made from accounts in the name of entities other than Digital Licensing, Inc., including (a)

 BFS; (b) Blox; (c) Gold Collective; and (d) UIU.

          23.      Finally, several million dollars of DLI assets have been transferred to banks

 overseas, limiting the Receiver’s ability to marshal these assets without time intensive and costly

 repatriation efforts.


 Digital Asset Tracing

          24.      DLI operates under the DEBT Box brand and purports to be a “software” company

 wherein a user can purchase a “node license” that “mines” certain cryptocurrency tokens that are

 purportedly backed by real-world commodities. A copy of thedebtbox.com home page, containing

 these representations, is attached hereto as Exhibit 2.

          25.      To better understand DLI’s DEBT Box business, the Team performed several

 investigative tasks, including: (a) interviewing several of the Defendants; (b) interviewing DEBT

 Box service providers; (c) analyzing wallet addresses disclosed by Defendants and other third

 parties1; (d) examining DEBT Box-related smart contracts; (e) investigating the primary

 blockchain-based markets for DEBT Box-related tokens; (f) reviewing information made public

 by Defendants on thedebtbox.com and other sources; (g) analyzing interactions between addresses

 associated with DLI and DEBT Box; (h) interviewing DEBT Box investors; and (i) reviewing

 information submitted by DEBT Box investors via the DEBT Box Receiver’s website. What

 follows is my preliminary assessment of the DEBT Box business.



 1
   The Debt Council Defendants confirmed the ownership of a list of wallet addresses. This list of addresses is available
 to the Court upon request.

                                                            9
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1816 Page 11 of 35




         26.     The blockchain components of the DEBT Box business consist of (a) “project

 tokens,” (b) the DEBT token, and (c) markets for exchanging between these tokens.

         27.     Each project token is associated with a purported real-world business or commodity

 project, including real estate, oil and gas, exotic vehicles, gold, beverage distribution, natural gas,

 and satellite technologies. Each project token has its own smart contract and several blockchain

 addresses associated with the project. The DEBT Box business minted a large batch of each project

 token to be used as token rewards for DEBT Box investors.




                  Figure 22: DEBT Box Project Tokens (screenshot from TheDebtBox.com home page).

         28.     The DEBT Box token holders can exchange their tokens on PancakeSwap, a

 decentralized cryptocurrency exchange. The market is limited: project tokens may only be




                                                       10
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1817 Page 12 of 35




 exchanged for DEBT tokens. Thus, the DEBT token is a medium of exchange for the different

 DEBT Box project tokens.

          29.      The DEBT token itself may then be traded for project tokens or for BSC-USD 2—

 again, using PancakeSwap.3

          30.      The DEBT Box business earns revenue, in part, by selling DEBT Box “licenses” to

 investors. These licenses grant DEBT Box investors the right to accumulate project tokens. DEBT

 Box investors’ licenses and their project token rewards are not reflected on the blockchain; instead,

 DEBT Box investors’ licenses and accumulated project tokens are accounted for using off-chain 4

 software.

          31.      DEBT Box investors wishing to withdraw value from the DEBT Box business (a)

 “withdraw” their project token rewards from their off-chain DEBT Box account to their own on-

 chain, privately-controlled wallet; (b) exchange the project tokens for DEBT tokens; and (c) then

 sell DEBT tokens for BSC-USD, typically on PancakeSwap.

          32.      Fully understanding the DEBT Box business is not readily apparent from

 blockchain information alone. Identifying the persons or entities controlling an address—

 sometimes called attribution—requires additional information and analysis. For example, entities

 may publish an address to which investors or consumers should send digital assets as part of an

 investment or sale agreement, as Digital Licensing, Inc. did in the DEBT Box Lite papers. See

 Exhibit 3. This indicates that the entity likely controls that address—either directly or indirectly

 through agents. Additionally, certain on-chain transaction patterns may indicate a common control



 2
   BSC-USD is a Binance stablecoin token pegged to the U.S. Dollar. A stablecoin is a token whose value is fixed to a
 predetermined currency.
 3
   The Team identified several smaller markets for DEBT tokens, but the preliminary analysis shows that these other
 markets have negligible trading volumes.
 4
   Off-chain refers to information that is not embedded in the blockchain and thus only available to the custodians of
 that information. Information available on a blockchain is referred to as “on-chain.”

                                                          11
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1818 Page 13 of 35




 person orchestrating related transactions, permitting attribution of clusters of addresses to one set

 of persons or entities. To help conduct this analysis, HK employed a vendor qualified to conduct

 digital asset analysis and tracing.

         33.     Some Defendants and Relief Defendants have disclosed certain wallets under their

 direct or indirect control. This information, combined with information Defendants and Relief

 Defendants have disclosed publicly—and analysis of the interactions between these wallets—has

 allowed me to identify a preliminary set of wallets that belong to the Debt Box business and thus

 the Receivership Estate. The Team also identified a set of the Debt Box business wallets as being

 controlled by Blox, which are detailed below.

         34.     Using blockchain and conventional financial transaction data, the Team calculated

 an approximate amount of revenue realized by the DEBT Box business via DEBT Box license

 sales. Investors purchased at least $130 million of DEBT Box licenses between November 2021

 and August 2023, primarily using digital assets to make their purchases. A more accurate amount

 of DEBT Box investor investments will only be possible with full access to DLI’s books and

 records.

         35.     To date, the Team has identified more than $5 million USD equivalent presently in

 various digital asset wallets related to the DEBT Box business.

         36.     The DEBT Council Defendants have informed the Team that several wallets are

 controlled by code hosted on Amazon Web Services, causing the wallets to engage in automated

 transactions within the DEBT Box business. For example, one DLI-controlled wallet has engaged

 in over 2,100 transactions since August 3, 2023. See fig. 3. These automated transactions are

 dissipating Receivership Estate assets. This is because every blockchain transaction has fees

 assessed in token form (known as “gas”), and thus each transaction causes assets to dissipate.



                                                  12
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1819 Page 14 of 35




 Presently, the Team has been unable to obtain the necessary underlying information and access to

 stop this from happening.




                 Figure 3: Sample of automated DEBT Box transactions. (Data derived from www.bscscan.com)

         37.       Further, blockchain transactions indicate that assets belonging to DLI were

 transferred after the Court issued its Temporary Restraining Order. On August 17, 2023, nearly

 two weeks after the asset freeze went into effect, an address, confirmed by Defendants to be owned

 by DLI, transferred 195.53 BNB ($49,000 USD equivalent), $10,102.53 BSC-USD and $1,000

 USDC to addresses beginning in 0x5eCa and 0x0Ab0. The 0x5eCa address immediately

 transferred 4.39 BNB ($960 USD equivalent), $1,000 USDC, and $10,163.74 BSC-USD to

 Binance, an offshore digital asset exchange.




        Figure 44: Sample transactions from DLI-controlled address to Binance. (Data derived from www.bscscan.com)




                                                           13
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1820 Page 15 of 35




         38.      Also, between August 17 and 18, 2023, the 0x0Ab0 address transferred 1,010.98

 BNB         ($220,000          USD          equivalent)          to        a       newly         created         wallet.




       Figure 55: Transactions showing the interactions between the REV token and address 0x0Ab0. (Data derived from
                                                     www.bscscan.com)

 Ongoing Lawsuits and Lack of Access to Legal Files

         39.      Research of ongoing and recently resolved litigation revealed more than two dozen

 active and recently closed lawsuits involving numerous parties in this case, including cases

 involving DLI, Blox, and The Gold Collective. Additionally, there are several other pending

 lawsuits involving parties to this action that the Team is currently evaluating to assess in terms of

 their relationships to Digital Licensing, Inc.

         40.      Pursuant to Section VI of the OAR, we are actively taking steps to stay known legal

 proceedings in which Digital Licensing, Inc. is a party. The lack of specificity around the phrase

 “affiliates and subsidiaries” has made it difficult to determine whether the Receiver can or should

 stay other litigations involving parties to this action but in which Digital Licensing, Inc. is not

 named as a party. This increases the risk that proceedings involving or impacting Receivership

 interests may continue without the Receivership Estate being in a position to protect them, and

 such interests may be harmed as a result.

         41.      Additionally, the Team aimed to immediately collect all of DLI’s legal files,

 including communications. Again, given concerns about the scope of the OAR, the Team has been

 limited in its efforts to obtain complete legal and case files.




                                                            14
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1821 Page 16 of 35




         42.     We learned that, in addition to other law firms, one large firm (“Firm”) provided

 extensive legal work for Digital Licensing, Inc. and several other Defendants and Relief

 Defendants, sometimes in the form of joint representations.

         43.     Following several discussions with Firm personnel, we learned that Firm has a

 client number for Digital Licensing, Inc. (“DLI Client Number”). That DLI Client Number

 includes several matters, including DLI Client Number matters for (a) Blox Lending General

 Corporate Advice; (b) Western Oil Exploration; and (c) Archer Drilling Contract. Additionally,

 there is a client matter for “Securities Assessment.”

         44.     In the Blox Lending General Corporate Advice matter under the DLI Client

 Number, Firm charged several thousands of dollars in fees for work it performed for DLI, Blox,

 and other DEBT Box entities:

        “Call with DEBTbox to discuss [. . .], underlying questions, and proposed revisions.”

        “Review the DEBT, GROW, and BLGD Lite Papers to assess [. . .] and prepare revisions
         and open questions for [Attorney’s] review and comment.”

        “Meet and correspond with [Attorney] re characterization of tokens as securities; begin to
         review client documents.”

        “Conference call with client regarding DebtBox and Black Gold operations”

        “Prepare for and participate in internal conference regarding BLOXLending, thedebtbox,
         and Black Gold Rewards”

        “Begin drafting privacy policy for thedebtbox”

        “List out all of the necessary considerations from the discussion with Digital Licensing,
         Inc., as well as all additional terms/considerations were requested via email”

        “Meet regarding Privacy & Terms Discussion / Digital Licensing, Inc.”

        “Analyze Digital Licensing Data Protection Officer Letter and Policy”

        “Call with Digital Licensing to discuss [….] and specifics needed to complete an initial
         draft”


                                                 15
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1822 Page 17 of 35




 The below Figure is an example of one such invoice from the Firm to DLI for legal work

 performed for both DLI and Blox.




                                      Figure 66: Excerpt of Firm Invoice.

         45.     Simultaneously with its representation of Digital Licensing, Inc., Firm has

 represented or continues to represent Defendants Blox, BFS, UIU, Jason Anderson, and Jacob

 Anderson in various matters. The Team and Firm are in ongoing conversation about the best and

 most efficient method for ensuring receipt of necessary materials.

         46.     The Team’s identification and collection of complete files from a variety of law

 firms has been complicated, in part, by concerns about what, exactly, constitutes DLI case files.

 The lack of specificity associated with the term “affiliates and subsidiaries” has directly impacted

 the Team’s ability to obtain these files to carry out the responsibilities set forth in the OAR.

                          DEBT BOX AND THE DEBT COUNCIL
                      EVIDENCE OF AFFILIATES AND SUBSIDIARIES

 Blox Lending, LLC

         47.     According to evidence reviewed and analyzed by the Team, Blox plays a critical

 role in the operational and financial aspects of DLI’s business.

         48.     Defendant Jason Anderson is Blox’s registered agent, sole managing member, and

 authorized signatory for all five of Blox’s bank accounts (with his brother Defendant Jacob

 Anderson being the only other authorized signatory). See Composite Exhibit 4.


                                                     16
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1823 Page 18 of 35




                              Figure 7: Excerpt of Blox Application for Account 8442   06985

         49.      Blox’s principal place of business is in the same building as Digital Licensing, Inc.

 See fig. 7; infra ¶¶ 69, 85.

         50.      The SEC provided the Team with records for five Blox bank accounts. These

 records include Blox’s fiat transactions spanning the period from August 17, 2020 to June 21,

 2023. During that period, based on those bank records provided by the SEC, Blox received more

 than $20 million in deposits. Although our analysis is ongoing, based on the same records, at least

 66% of the deposits into Blox’s accounts during that period came from bank accounts in the name

 of: (1) Digital Licensing, Inc.; (2) Defendant iX Global; and (3) UIU. At least an additional 17%

 of deposits during this period came from non-party Green Fusion, LLC, a Utah LLC managed by

 Defendant Jacob Anderson—with an address in the same office building as Digital Licensing, Inc.,

 Blox, and others)—and non-party Profit Vault, LLC, a Utah LLC managed by Defendant Matthew

 Fritzsche, his brother, Ryan Fritzsche, non-party Emily Tabor-Eads, 5 and Gordon Anderson,

 Defendants Jason and Jacob Anderson’s father.




 5
   Ms. Eads appears to be an active employee and representative of DLI and several of the other entities described in
 this declaration.

                                                           17
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1824 Page 19 of 35




                                       Figure 8: Source of Blox deposits.

         51.     Banking records provided by the SEC coupled with explanations provided by

 Defendants, suggest Blox played a direct role in connection with receipt of proceeds tie to DEBT

 Box license sales. For example, on February 14, 2023, pursuant to Blox’s banking records,

 Defendant iX Global wired nearly $3.1 million directly to Blox. According to information

 provided by Defendants, iX Global paid Blox in connection with the purchase of DEBT Box

 licenses for iX Global’s subsequent sale to investors. See Exhibit 5.



                                  Figure 9: iX Global/Blox transaction excerpt.



         52.     Furthermore, banking records provided by the SEC indicate that Blox provided

 $1.15 million to Digital Licensing, Inc. in two financial transactions, occurring on June 8, 2022

 and June 16, 2022. Digital Licensing, Inc. then transferred a significant portion of these funds to

 Purdy Oil for the purported purchase of three oil rigs. See Exhibit 6. More specifically, with regard

 to the June 16, 2022 transaction, on that date Blox transferred $900,000 to Digital Licensing, Inc.


                                                      18
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1825 Page 20 of 35




 One day later, on June 17, 2022, Digital Licensing, Inc. sent $900,000 to Purdy Oil with the

 transaction description “NEBRASKA LOW.” Although the Team has not been able to establish

 which party owns the rigs, counsel for the DEBT Council Defendants has claimed that these rigs

 belong to Digital Licensing, Inc. and are part of the Receivership Estate. See Exhibit 7.

         53.       Moreover, on March 10, 2023, Digital Licensing, Inc. provided $500,000 to Blox.

 Six days later, Blox transferred these funds to LM Investment Holdings, LLC for use in connection

 with the acquisition of Lazy Magnolia Brewery—an enterprise purportedly related to the DEBT

 Box BEV token.




                 Figure 10: Digital Licensing, Inc. wire to Blox and Blox wire to LM Investment Holdings, LLC

         54.       Blox also controlled or was integrally involved in certain aspects of the on-chain

 DEBT Box business.

         55.       Indeed, Blox itself had its own DEBT Box project token:




                                    Figure 1111: Blox Token symbol from thedebtbox.com.

         56.       Defendants disclosed several digital asset wallets that belong to Blox, and the

 Team’s analysis evidences that these wallets—and others controlled by Blox—served critical roles

 in the DEBT Box business.




                                                             19
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1826 Page 21 of 35




            57.      For example, based on these disclosures and public blockchain data, BLOX

 controls the address receiving DEBT Box investor proceeds derived from NATG project token

 license sales.




           Figure 1212: Transactions showing Blox-controlled wallet receiving NATG license revenue. (Data derived from
                                                      www.bscscan.com)

            58.      Upon receipt of the license proceeds, Blox then used same to purchase tokens from

 the PancakeSwap liquidity pool.




     Figure 1313: Transactions showing Blox purchasing DEBT tokens from PancakeSwap. (Data derived from www.bscscan.com)

            59.      Indeed, Blox-controlled wallets received over $22.4 million of USD equivalent

 traceable to DEBT Box investor proceeds. 6 Specifically, Blox addresses received DEBT Box

 investor proceeds associated with the GROW, NATG, XPLR, ALUM, BEV, BLOX, and DRIP

 project tokens.




 6
     Defendants have self-identified this wallet as belonging to Blox.

                                                              20
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1827 Page 22 of 35



     Figure 1414: Exemplar transactions showing Blox receiving funds from the NATG Payments Wallet. (Data derived from

                                                     www.bscscan.com)


           60.       Moreover, based on materials provided by the DEBT Council Defendants, Blox

 was the primary liquidity provider for the DEBT token—the central token of the DEBT Box

 business. Blox owns 99.93% of the tokens associated with the DEBT token/BSC-USD liquidity

 pool.




         Figure 1515: Ownership distribution of the BSC-USD/DEBT Liquidity Pool. (Data derived from www.bscscan.com)

           61.       In addition to being the primary source of liquidity for DEBT Box investors, BLOX

 used assets contributed by DEBT Box investors to purchase nearly $22.4 million of DEBT tokens

 out of the DEBT liquidity pool.

           62.       Blox was also involved in transactions relating to other aspects of the DEBT Box

 business, including funding certain project tokens or facilitating certain project tokens’ liquidity

 pools.




             Figure 16: Excerpt of Blox and GROW project token transactions. (Data derived from www.bscscan.com)




                                                             21
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1828 Page 23 of 35




   Figure 167: Excerpt of Blox and ALUM project token and liquidity pool transactions. (Data derived from www.bscscan.com)

          63.      Furthermore, personnel using Blox email addresses worked on behalf of the DEBT

 Box business to list the DEBT token on different exchanges and market-making platforms,

 including MEXC (Exhibit 8) and FlowDesk (Exhibit 9).

          64.      Moreover, personnel using Blox email addresses were involved in authoring and

 facilitating the publication of DEBT Box business marketing and investments materials sent to

 current and prospective DEBT Box investors. See Exhibits 10 - 12.


 Business Funding Solutions, LLC

          65.      According to evidence reviewed and analyzed by the Team, BFS plays a critical

 role in the operational and financial aspects of Digital Licensing, Inc.’s business.

          66.      DEBT Council Defendant Jason R. Anderson is BFS’s registered agent, sole

 managing member, and authorized signatory for its bank account. See Exhibit 13; See Exhibit 14.

          67.      In a February 6, 2023 email from DEBT Council Defendant Roy Nelson to a

 Business Services Portfolio Manager at Mountain America Credit Union (“MACU”), Nelson

 provided a description of DLI’s business. In that description he noted the following: “Revenues

 are primarily generated through the sales and management of software licenses. This company

 frequently interacts with The Gold Collective, Business Funding Solutions (a sales and marketing




                                                            22
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1829 Page 24 of 35




 company), Blox (a commercial lending organization) and Menxons (a joint venture partner in

 Africa).” See Exhibit 15.




                               Figure 18: Digital Licensing Inc. Address Excerpt

         68.     Attached to the same email, Nelson provided a corporate resolution to open a bank

 account. Nelson provided the following address as Digital Licensing, Inc.’s primary business

 address: 13894 South Bangerter Parkway Suite 100 Draper Utah 84020, (Exhibit 16)—the same

 address used in an invoice addressed to “The DEBT Box” (Exhibit 17).




                                 Figure 19: BFS Bizpedia Address Excerpt68


         69.     BFS, UIU (see infra ¶ 8585), and Blox (see supra ¶ 480) use the same building as

 Digital Licensing Inc.’s primary place of business (supra ¶ 6768). 85068




                                                     23
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1830 Page 25 of 35




         70.     The SEC provided the Team with records for one BFS bank account. These records

 include BFS’s fiat transactions spanning the period from May 31, 2018 to May 4, 2023. During

 that period, BFS received more than $27 million in deposits. More than 60% of the deposits in

 BFS’s accounts during this period came from (1) Digital Licensing, Inc.; (2) UIU; (3) Gold

 Collective; and (4) Blox.




                                   Figure 170: Sources of BFS deposits.




         71.     Notably, from November 4, 2021 to November 4, 2022, Digital Licensing, Inc.

 contributed at least $10,042,761.04—or approximately 95%—of the funds deposited into BFS’s

 bank account. During this period, aside from six deposits with a collective value of less than

 $29,000, the only non-Digital Licensing, Inc. deposit was from Gold Collective for $499,400.00.

         72.     Records from Defendant iXGlobal show iXGlobal transmitted $400,000 in direct

 payments to BFS between March 29, 2023 and June 9, 2023 to obtain Debt Box licenses. See

 Exhibit 5.




                                                   24
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1831 Page 26 of 35




         73.     Overall, 99.9% of the $27 million that flowed into BFS from May 31, 2018 to May

 4, 2023, was withdrawn. At least 46% (or nearly $12.5 million) of such withdrawals were directed

 to UIU and Defendant Jason Anderson.




                                       Figure 181: BFS withdrawals.

         74.     During the period alleged in the SEC’s Complaint, beginning March 2021, the

 percentage of BFS’ withdrawals to UIU and Jason Anderson increases to at least 60% (or

 approximately $10 million of the total $16.5 million withdrawn during that period).

         75.     Furthermore, several transactions from BFS to Jason Anderson include “DEBT

 Box” in the memo fields, including transactions for legal fees and other work for DLI.


 The Gold Collective, LLC

         76.     According to evidence reviewed by the Team, Gold Collective plays a critical role

 in Digital Licensing, Inc.’s purported international projects, predominantly in Ghana. These

 projects appear to include drilling, mining, and farming operations from which DEBT Box

 investors would indirectly benefit.




                                                   25
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1832 Page 27 of 35




         77.     According to the company’s filings, Gold Collective is a Nevada limited liability

 company managed by DEBT Council Defendant Schad Brannon. See Exhibit 18. Moreover,

 another Debt Council Defendant, Roydon Nelson, is listed on the statements for at least two Gold

 Collective bank accounts provided by the SEC. See Exhibits 19-20.

         78.     On July 6, 2023, Debt Council Defendant Schad Brannon acted as the

 representative of both The Gold Collective and Digital Licensing, Inc. when they filed a lawsuit

 in Nevada state court. See Exhibit 21. In the lawsuit, The Mineral Collective, LLC d/b/a The Gold

 Collective, LLC, and Digital Licensing, Inc., v. Giuliano, these plaintiff entities used the same

 legal counsel and Brannon verified allegations—under penalty of perjury—that he and Debt

 Council Defendant Roydon Nelson manage both The Gold Collective and Digital Licensing,

 Inc. See id. ¶ 3 & p. 11. Mr. Brannon further verified that these entities together loaned money to

 defendants in that case for “general business development activities and to perform work for

 Plaintiffs’ businesses, including but not limited to, digital currency projects, natural resource

 development projects, and development of new commodity business opportunities with third

 parties known to the Defendants.” See id. ¶ 12. Going further, Mr. Brannon verified that The Gold

 Collective and Digital Licensing, Inc. “are in the mineral location and mining business, and

 contract with individuals all over the world to further their mining practices” and that they believed

 defendants in that case would “help promote and grow Plaintiffs’ mining interests through local

 connections, research, developing business systems, and identifying new sources for mining

 activity.” See id. ¶ 17.

         79.     The SEC provided the Team with records for five Gold Collective bank accounts.

 These records include Gold Collective’s fiat transactions spanning the period from March 13, 2019

 to February 14, 2023. During that period, Gold Collective received approximately $8 million in



                                                  26
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1833 Page 28 of 35




 deposits. According to those same bank records, Gold Collective appears to have received at least

 $3.5 million of that sum in wire transfers from Digital Licensing, Inc, representing more than 44%

 of Gold Collective’s incoming deposits during the period. Of the remaining 55%, at least 13%

 came from DEBT Council Defendant, Roydon Nelson. The remainder of Gold Collective’s

 deposits, and subsequent outflows, are currently being analyzed.

         80.     Furthermore, pursuant to Digital Licensing, Inc.’s bank records, from February 14,

 2023 to May 18, 2023, Gold Collective received an additional $952,000 in deposits from Digital

 Licensing, Inc., bringing total Gold Collective deposits to $4,496,394.30.

         81.     This is consistent with internal communications provided by the Defendants

 describing Gold Collective’s operations, whereby they claim that the Gold Collective interests in

 purported gold and silver projects were to be assigned to DLI. A PowerPoint created by the Debt

 Council Defendants reveals the Gold Collective was to be purportedly associated with one of the

 DEBT Box Tokens (Au). See Exhibit 22.

         82.     Once funds were deposited in Gold Collective’s bank accounts, they were sent to

 other parties, including: (a) BFS; (b) Defendant Western Oil Company; (c) Menxons Company

 Limited; and (d) Defendant Schad Brannon.


 UIU Holdings, LLC

         83.     According to evidence reviewed and analyzed by the Team, UIU assists Digital

 Licensing, Inc. facilitate various financial transactions.

         84.     According to organizational documents, Defendant Jason Anderson owns 100% of

 UIU, serves as its registered agent, and is an authorized signatory for UIU’s bank accounts (with

 his brother Defendant Jacob Anderson being the only other authorized signatory). See Exhibits

 23-24; Composite Exhibit 25.


                                                   27
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1834 Page 29 of 35




         85.      According to documentation filed with the IRS, UIU uses the same operating

 address as BFS (supra ¶ 6869) and Blox (supra ¶ 480), and within the same building as Digital

 Licensing, Inc. (supra ¶ 67680). See Exhibit 23.




                                    Figure 2219: Excerpt of UIU's EIN Application

         86.      The SEC provided the Receiver and his team with bank records for UIU spanning

 two bank accounts over the period November 13, 2019 to December 5, 2022. These records

 establish that approximately 34% (or at least $5,451,000.00) of all of UIU’s deposits originated

 from BFS.

         87.      Additionally, BFS accounted for nearly 22% (or at least $3,440,116.01) of all of

 UIU’s withdrawals. And although Blox did not make any deposits to UIU during this time, Blox

 received nearly 47% (or at least $7,427,413.72) of all UIU withdrawals, meaning nearly 70% of

 all outflows from UIU went to BFS and Blox.7

         88.      Most of the transactions from October 2020 and onwards, between UIU and

 BFS/Blox, included transaction descriptions for loans and real estate. Additionally, eleven

 withdrawals from UIU to BFS were executed via check, signed by Defendant Jason Anderson.




 7
  Between Digital Licensing, Inc. deposits and UIU deposits, these amounts comprised at least 44% of Blox’s
 deposits between August 17, 2020 and June 21, 2023.

                                                        28
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1835 Page 30 of 35




 Digital Commodity House Entities

         89.     The DEBT Council Defendants used several purported entities under the “Digital

 Commodity House” umbrella to facilitate DEBT Box operations, including Digital Commodity

 House, LLC, Digital Commodity Software House, FZCO, and Digital Commodity House, FZCO.

 Collectively, I refer to these entities as “DCH.” According to records of the United Arab Emirates

 Ministry of Economy, Digital Commodity Software House’s registration expired on May 30, 2023,

 and Digital Commodity House, FZCO is active. See Exhibit 26.

         90.     According to materials provided by the Provider, the DCH domain name –

 digitalcommodityhouse.com – was one of the websites Provider controlled in his work for DLI.

 Additionally, all DCH emails were consolidated under the umbrella universaldev.com domain

 detailed above. See Exhibit 1.




                       Figure 2320: Mar. 15, 2023 The DEBT Box Tweet regarding DCH LLC

         91.     Additionally, a review of Digital Licensing, Inc.’s financial transactions reveals

 two outgoing transfers in 2022, totaling $600,000 to DCH. Immediately following these,




                                                     29
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1836 Page 31 of 35




 transactions, Digital Licensing, Inc. sent IFZA $5,664 for “company organiza[tion]” 8 and another

 $1,280.25 for “visa.” These two withdrawals from Digital Licensing, Inc. took place on

 October 26, 2022 and November 18, 2022, respectively.

          92.       Furthermore, Defendant Jason Anderson represented in a public interview where

 he was identified as “The DEBT Box founder” that DLI intended to move its headquarters and

 operations to Dubai to mitigate the risks of “regulatory uncertainty.” See D. Michael Vick,

 Exclusive Interview with The DEBT Box Founder, Jason Anderson, YOUTUBE (Oct. 26, 2022),

 https://youtu.be/x75A6Sxh1qU (at 22:50).

          93.       Moreover, materials provided to the Receiver by the DEBT Council identify DCH

 as the owner of the Treasury account for the DEBT Box tokens. Exhibit 27.

          94.       Through at least November 30, 2022, and upon information and belief through

 June 12, 2023, the terms of sale listed on thedebtbox.com provided that “These DEBT Purchase

 and License Terms of Sale (“Terms”) are entered into by and between you (“you” and “your”) and

 Digital Licensing, Inc. and its affiliates, including DEBT Box (collectively “DEBT”, “we,” “our”

 or “us”)[.]” See Exhibit 28 (emphasis added).

          95.       At a date presently unknown, thedebtbox.com Terms changed and replaced “Digital

 Licensing, Inc” with “Digital Commodity House, FZCO.” See Exhibit 29.

          96.       Notably, the Terms of thedebtbox.com are governed by the laws of the State of

 Wyoming—where Digital Licensing, Inc. is incorporated—and require disputes to be resolved via

 arbitration conducted in Wyoming. This has remained the same even after the change of “Digital

 Licensing, Inc” to “Digital Commodity House, FZCO.”



 8
   Pursuant to its website (https://ifza.com/en/), IFZA is a “leading Free Zone Community in Dubai with world-class
 infrastructure, state-of-the-art facilities, and business friendly regulations, making it an ideal destination for foreign
 investors looking to set up and grow their business.”

                                                             30
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1837 Page 32 of 35




         97.     Furthermore,    in   or   around     the   same    time    period,   the    website

 www.digitallicensinginc.com included the announcement that “Digital Licensing, Inc. is now

 Digital Commodity House, LLC.” See Exhibit 30.

         98.     Similarly, through at least May 8, 2023, the Privacy Policy on thedebtbox.com

 listed “Digital Licensing, Inc., and its affiliates, including DEBT Box” as the owner of the policy.

 At an unknown date, the Privacy Policy was updated to replace “Digital Licensing, Inc.” with

 “Digital Commodity House, FZCO.” There is a disclaimer in terms that states “Our Services are

 hosted in the United States and intended for visitors located within the United States.” See

 Exhibit 31 (emphasis added).

         99.     The Team’s investigation identified several high value digital asset wallets. Even

 though the wallets presently contain nearly $2.5 million in USD equivalent digital assets traceable

 to the sale of DEBT Box licenses, the DEBT Council Defendants stated that these wallets “belong

 to DCH and not DLI.” See Exhibit 32.

         100.    Based on a corporate board resolution for Digital Commodity Software House

 (“DCSH”) on June 22, 2022, Roy Nelson is listed as the Chairman, and both Schad Brannon and

 Emily Tabor Eads are listed as additional directors. See Exhibit 33.

         101.    Defendants created a PowerPoint presentation for DCSH which graphically

 portrayed as a de facto holding company for various DLI- and DEBT Box-related projects. See

 Exhibit 22.


 Examples of Commingling Amongst Entities

         102.    The following paragraphs summarize one indicative tracing exercise illustrating the

 commingling and flow of funds by and between various parties detailed herein. This exercise




                                                 31
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1838 Page 33 of 35




 covers transactions between May 11, 2022 and September 9, 2022 with few intervening

 transactions.

          103.     On May 11, 2022, Digital Licensing, Inc. sent BFS a payment for $2 million,

 labelled “COMMISS.” As detailed in ¶ 7171 above, at least 95% of BFS’s incoming deposits

 during this time frame were from Digital Licensing, Inc.

          104.     Twelve days later, on May 23, 2022, BFS sent UIU $2 million with the transaction

 description “Loan Paydown”.

          105.     Two days later, on May 25, 2022, UIU sent Blox two transfers of $500,000 each

 for a total of $1,000,000.00 (“UIU’s First Payment”). The descriptions for the transactions include

 the description “Real Estate.”

          106.     On or around May 25, 2022, Blox’s bank account had a balance of approximately

 $1,018,406.77. Blox received UIU’s First Payment for $1 million, bringing its balance to

 approximately $2,018,406.77.

          107.     Blox then made four withdrawals between May 31, 2022 and June 30, 2022 to three

 entities and received no deposits. Among the withdrawals, Blox sent (a) $1,150,000.00 to Digital

 Licensing, Inc.9 and $250,000.00 to IX Global LLC. Subtracting these withdrawals, another

 transaction, and associated fees from Blox’s beginning balance, the Blox account was left with a

 balance of approximately $109,178.73 on or around June 30, 2023.




 9
   Pursuant to ¶ 52, Blox sent Digital Licensing, Inc. $1.15 million, which Digital Licensing, Inc. forwarded $900,000
 to Purdy Oil for the purchase of three rigs. As explained in ¶¶103 103 through 112Error! Reference source not
 found., this $1.15 million likely originated from Digital Licensing, Inc. In effect, these funds were transferred from
 Digital Licensing, Inc. to BFS, from BFS to UIU, from UIU to Blox, and from Blox ultimately recycled back to
 Digital Licensing, Inc. as a “loan” for Purdy Oil mining equipment.

                                                          32
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1839 Page 34 of 35




         108.    Without any intervening withdrawals within the UIU account, on July 15, 2022,

 UIU sent an additional $1,000,000.00 to Blox, with the transaction description “Re Loan” (“UIU’s

 Second Payment”).

         109.    Following the UIU Second Payment, there are four withdrawals totaling

 $430,849.10 payable to, among other parties, Defendants Purdy Oil, LLC and Western Oil.

 Following these withdrawals, Blox had a balance of approximately $678,331.68.

         110.    As detailed in ¶ 7171 above, at least 95% of BFS’s incoming deposits during this

 time frame were from Digital Licensing, Inc.

         111.    On September 8, 2022, BFS wired $1.13 million to UIU.

         112.    On September 9, 2022, UIU sent $1 million to Blox—bringing Blox’s total account

 balance on September 9, 2022 to $1,678,331.68.

         113.    Also on September 9, 2022, Blox sent Metro National Tile Trust $1,089,051.72

 with the transaction description “Escrow 93828 Address 1638 E 12500 South, Draper, UT 84020.”

 Salt Lake County records indicate that Defendant Matthew Fritzsche owns this property. This is

 also the location where the Team interviewed him on August 2, 2023.




                              Figure 2421: Blox wire to Metro National Title Trust.




                                                      33
 #227551078_v1
Case 2:23-cv-00482-RJS Document 125-1 Filed 09/01/23 PageID.1840 Page 35 of 35




 Dated: August 25, 2023.              Respectfully submitted,


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                                       As Receiver for Digital Licensing, Inc.




                                      34
 #227551078_v1
